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 6
                               UNITED STATES DISTRICT COURT
 7                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8
     KATIE ELASMAR,
 9                                                       Civil Action No. 4:19-cv-00498-DMR
10                           Plaintiff,

11                  v.

12 LOXO ONCOLOGY, INC., JOSHUA H.
     BILENKER, M.D., STEVE ELMS, KEITH
13 T. FLAHERTY, M.D., AVI Z. NAIDER,
14 LORI A. KUNKEL, M.D., ALAN
   FUHRMAN, TIM MAYLEBEN,                     and
15 STEVE D. HARR, M.D.
16                           Defendants.
17
18
                                 NOTICE OF VOLUNTARY DISMISSAL
19
            Notice is hereby given that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),
20
21 Plaintiff Katie Elasmar (“Plaintiff”) voluntary dismisses with prejudice the above-titled action
22 against Defendants as moot. Because this dismissal is being filed with the Court before service by
23 Defendants of either an answer or a motion for summary judgement, Plaintiff’s dismissal of the
24 Action is effective upon the filing of this notice.
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                                               DISMISSAL
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                                             Respectfully submitted,
 1   DATED: February 12, 2019
                                             /s/ David E. Bower
 2   OF COUNSEL                              David E. Bower SBN 119546
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                                       DISMISSAL
